                                           Case 3:14-cv-03264-JD Document 735 Filed 06/08/15 Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        IN RE CAPACITORS ANTITRUST
                                   7    LITIGATION.                                         Master File No. 14-cv-03264-JD

                                   8
                                                                                            AMENDED SCHEDULING ORDER
                                   9

                                  10

                                  11

                                  12          The Court sets the following amended case management deadlines pursuant to Federal
Northern District of California
 United States District Court




                                  13   Rule of Civil Procedure 16 and Civil Local Rule 16-10, and the stipulated requests by the parties

                                  14   (Dkt. Nos. 730, 733). For the production of discovery, the Court adopts the parties’ jointly-

                                  15   proposed dates and will hold the parties to their representations in their jointly-filed proposed case

                                  16   schedule. Dkt. No. 730. The Court also grants the parties’ request to vacate defendants’ deadlines

                                  17   to serve responsive pleadings to DPPs’ and IPPs’ prior Consolidated Complaints. Dkt. No. 733.

                                  18
                                  19                                  Event                                             Deadline

                                  20    DPPs and IPPs to file amended complaints or notices of intent        6/16/15
                                        not to amend
                                  21
                                        Quarterly status conference                                          7/8/15 at 1:30 p.m.
                                  22
                                        Defendants’ motions to dismiss (or other responses to) amended 7/16/15
                                  23    complaints
                                  24
                                        Plaintiffs’ oppositions to any motions to dismiss                    8/17/15
                                  25
                                        Defendants’ motion to dismiss replies                                9/1/15
                                  26
                                        Hearing on motions to dismiss                                        9/16/15 at 10:00 a.m.
                                  27
                                        FTAIA motions filed                                                  10/1/15
                                  28
                                           Case 3:14-cv-03264-JD Document 735 Filed 06/08/15 Page 2 of 2




                                   1                                   Event                                            Deadline
                                   2    Quarterly status conference                                          10/14/15 at 1:30 p.m.

                                   3    FTAIA oppositions filed                                              10/30/15
                                   4    FTAIA replies filed                                                  11/20/15
                                   5    Hearing on FTAIA motions                                             12/9/15 at 10:00 a.m.
                                   6
                                        Quarterly status conference                                          1/13/16 at 1:30 p.m.
                                   7
                                        Class certification motions filed                                    2/12/16
                                   8
                                        Quarterly status conference                                          4/13/16 at 1:30 p.m.
                                   9
                                        Class certification oppositions filed                                5/2/16
                                  10
                                        Class certification replies filed                                    6/27/16
                                  11

                                  12    Hearing on class certification motions & quarterly status            7/20/16 at 10:00 a.m.
Northern District of California




                                        conference
 United States District Court




                                  13
                                        Quarterly status conference                                          10/12/16 at 1:30 p.m.
                                  14

                                  15          All dates set by the Court should be regarded as firm. Counsel may not modify these dates

                                  16   by stipulation without leave of court. Requests for continuances are disfavored, and scheduling

                                  17   conflicts that are created subsequent to the date of this order by any party, counsel or party-

                                  18   controlled expert or witness will not be considered good cause for a continuance. Sanctions may

                                  19   issue for a failure to obey a scheduling or other pretrial order. See Fed. R. Civ. P. 16(f)(1)(C).

                                  20          IT IS SO ORDERED.

                                  21   Dated: June 8, 2015

                                  22                                                    ______________________________________
                                                                                        JAMES DONATO
                                  23                                                    United States District Judge
                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                         2
